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                 UNITED STATES DISTRICT COURT

                 SOUTHERN DISTRICT OF GEORGIA

                          STATE SBORO DIVISION


UNITED STATES OF AMERICA,                )
                                         )



            Plaintiffs,                  )
V.                                       )     Case No. CR615-001
                                         )



MARK A. GREEN et al.,                    )
                                         )



            Defendants.

                                ORDER

      Application for leave of absence has been requested by J. Alvin

Leaphart, IV, for the periods of Wednesday, September 9, 2015 through

and including Friday, September 11, 2015; Wednesday, September 16,

2015 through and including Friday, September 18, 2015; and Monday,

October 12, 2015 through and including Friday, October 16, 2015.

      The above and foregoing request for leave of absence is approved;

however, the attorney must make arrangements for other counsel in the

event the case is scheduled for hearing or trial during such leave.

      SO ORDERED this 26th day of August, 2015.


                                     UNITED STATES MAGISTRATE JUDGE
                                     SOUTHERN DISTRICT OF GEORGIA
